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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT ()F MISSOURI

MARK HORTON,
Plaintiff,
Case No. l4:l7-CV~2324

V.

MIDWEST GERIATRIC MANAGEMENT, LLC,

\._/W\n/\¢/\_/\~/\_/\\_/\_/

Defendant.
JOINT PROPOSEI) SCHEDULING PLAN
Pursuant to Federal Rule of Civil Procedure 26(f), an initial conference of the parties was

held on October 18 2017 via telephone With attorneys Mark S. Schuver and Natalie T. Lorenz
(Plaintiff) and Michael L. }ente (Defendant) participating

 

SCHEDULING AND DISCOVERY PLANS WERE DISCUSSED AND AGREED TO AS
FOLLOWS:

(a) The Parties state that the Track Assignment (Track 2: Standard) is appropriate

(b) Joinder of additional parties shall be made by January 8, 2018, and amendment of
pleadings shall be made by January 8, 2018.

(c) The Parties agree to the following discovery plan:
(i) The parties CERTIFY that they have discussed, in particular, the
proportionality of discovery, the burden and expense associated With

discovery, and the discovery of electronically stored information (ESI).
The parties [:] do do not anticipate a need for an ESI protocol

(ii) The parties Will submit a joint stipulated protective order.

(iii) Initial disclosures or information and exchange of documents pursuant to
Fed. R. Civ. P. 26(a){l) shall be completed by November 9 2017.

 

(iv) Discovery need not be conducted in phases or limited to certain issues
(v) Expert Witnesses Shall be disclosed, along with a Written report prepared

and Signed by the Witness pursuant to Federal Rule of Civil Procedure
26(a)(2), as follows:

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(d)

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(f)

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Plaintiff’s expeit(s) and report(s) disclosed by: March l 2018.
Defendant’s expert(S) and report(s) disclosed by: May 1, 2018.

 

Depositions of expert Witnesses must be taken by:

Plaintiff’s expert(s): April 2, 2018.
Defendant’s expert(s): June 1 2018.

 

(vi) The Parties agree that the presumptive limits of ten (l()) depositions per
side as set forth in Fed. R. Civ. P. 30(a)(2)(A) and twenty-five (25)
interrogatories per party as set forth in Fed. R. Civ. P. 33(a) should apply.

(vii) The Parties do not anticipate that physical or mental examinations of
Parties Will be requested pursuant to Fed. R. Civ. P. 35.

(viii) Discovery shall be completed by June 28 2018. Any Written
interrogatories or request for production served after the date of the
Scheduling and Discovery Order shall be served by a date that allows the
Served parties the full 30 days as provided by the Federal Rules of Civil
Procedure in Which to answer or produce by the discovery cut-off date.

 

The Parties agree that the case may be referred for mediation or early neutral
evaluation any time prior to March l 2018.

 

All dispositive motions (motions to dismiss, summary judgment, etc.) shall be
filed by October 24 20]8. Dispositive motions filed after this date Will not be
considered by the Court.

 

All motions to exclude testimony pursuant to Daubert v. Merrell Dow
Pharmaceuticals, Inc., 509 U.S. 579 (1993) or Kuhmo Ti`re Co. Ltd. v.
Carmichael, 526 U.S. 137(1999) shall be filed by December3 2018.

 

The earliest date that the Parties anticipate this case Should be ready for trial is
Februag 2019.

The Parties anticipate the length of time expected to try the case to verdict is
3 trial days.

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DATED: October 19, 2017

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/s/Mark S. Schuver

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